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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEINO JOHNSON                                         CIVIL ACTION

                         v.                           N0.18-639

WOO LY MAMMOTH, LLC, et al.


                                                 ORDER

          AND NOW, this       3rd   day of April 2018, upon considering the parties' Stipulation of

    Dismissal (ECF Doc. No. 11), it is ORDERED:

          1.       This action is DISMISSED with prejudice under agreement of counsel and

Local Rule of Civil Procedure 41.l(b) 1; and,

          2.       The Clerk of Court shall mark this matter CLOSED.




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    Local Rule 41.l(b) provides:

          [a]ny such order of dismissal may be vacated, modified, or stricken from the
          record, for cause shown, upon the application of any party served within ninety
          (90) days of the entry of such order of dismissal, provided the application of the
          ninety-day time limitation is consistent with Federal Rule of Civil Procedure
          60(c).
